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                            18C05-2108-CT-000089                            #: 188/22/2021 3:54 PM
                                                                                                            Clerk
                                        Delaware Circuit Court 5                         Delaware County, Indiana




STATE OF INDIANA                   )                IN THE DELAWARE CIRCUIT COURT
                                   ) SS:
COUNTY OF DELAWARE                 )                CAUSE NO.

JERRY MALONE

       VS.

WALMART STORES EAST, LP

                              COMPLAINT FOR DAMAGES

       Comes now the plaintiff, Jerry Malone, by counsel, Ken Nunn Law Office, and for
cause of action against the defendant, Walmart Stores East, LP, alleges and says:

       1.    That on or about December 7, 2020, the plaintiff, Jerry Malone, was a customer
at the Walmart store located at 1501 East 29th Street in Muncie, Delaware County, Indiana.

       2.    That on or about December 7, 2020, the plaintiff, Jerry Malone, slipped and fell
in a powdered substance on the floor at said location, causing the plaintiff to suffer serious
injuries.

        3.      That it was the duty of the defendant to use ordinary care and diligence to keep
and maintain the said premises in a condition reasonably safe for its intended uses and free
from all defects and conditions which would render the premises dangerous and unsafe for
plaintiff, or present an unreasonable risk of harm to plaintiff in his lawful use of same.

        4.      That it was the duty of the defendant to exercise reasonable care to protect
plaintiff, by inspection and other affirmative acts, from the danger of reasonably foreseeable
injury occurring from reasonably foreseeable use of said premises.

       5.      That it was the duty of the defendant to have available sufficient personnel and
equipment to properly inspect and maintain the aforesaid premises in a condition reasonably
safe for plaintiff and free from defects and conditions rendering the premises unsafe.

       6.     That it was the duty of the defendant to warn plaintiff of the dangerous and
unsafe condition existing on said premises.

      7.      That the defendant knew or should have known of the unreasonable risk of
danger to the plaintiff but failed either to discover it or to correct it after discovery.
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       8.     That the fall and resultant permanent injuries of plaintiff were caused by the
negligence of the defendant who failed to utilize reasonable care in the inspection and
maintenance of said premises.

      9.     That the aforesaid acts of negligence on the part of the defendant were the
proximate cause of the injuries sustained by the plaintiff.

       10.     That the plaintiff has incurred medical expenses and other special expenses, and
will incur future medical expenses, lost wages and other special expenses, as a direct and
proximate result of defendant's negligence.

       WHEREFORE, the plaintiff demands judgment against the defendant for permanent
injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses
and other special expenses, for future medical expenses, lost wages and other special expenses,
court costs, and all other proper relief in the premises.

                                   KEN NUNN LAW OFFICE


                                   BY:    s/ Daniel Gore
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                               REQUEST FOR TRIAL BY JURY

       Comes now the plaintiff, by counsel, Ken Nunn Law Office, and requests that this

matter be tried by jury pursuant to Trial Rule 38.
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